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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 11

OPEN ROAD FILMS,LLC,a Delaware limited                         Case No.: 18-120.12(LSS)
liability company, et al.1,
                                                              (Jointly Administered)
                                    Debtors.
                                                               Re: Docket No.970

                    ORDER GRANTING MOTION OF THE PLAN
              ADMINISTRATOR TO EXTEND TIME TO OBJECT TO CLAIMS

         Upon consideration of the motion (the "Motion")2 of John Roussey (the "Plan

Administrator"), acting on behalf of Open Road Films, LLC, and its affiliated debtors and

debtors in possession (collectively, the "Debtors" and subsequent to the Effective Date (as

defined herein), the "Liguidatin~ Debtors") in the above-captioned bankruptcy case for entry of

an order (this "Order") extending the time by which the Plan Administrator has authority to

object to Claims; and upon consideration of the Motion having been given; and it appearing that

this Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and it

appearing that this. proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and it

appearing that venue of the proceeding and this Motion are proper pursuant to 28 U.S.C. §§ 1408

and 1409; and due and proper notice having been given; and no further notice being required;

 and after due deliberation and sufficient cause appearing therefor, it is hereby

         ORDERED,that the relief sought in the Motion is granted; and it is further


 I The Liquidating Debtors and the last four digits of their taxpayer identification numbers include: Open Road
 Films, LLC(4435-Del.); Open Road Releasing, LLC(4736-Del.); OR Productions LLC(5873-Del.); Briarcliff LLC
(7304-Del.); Open Road International LLC (4109-Del.); and Empire Productions LLC (9375-Del.). The Debtors'
 address is 1800 Century Park East, Suite 600, Los Angeles, CA 90067. Additional affiliated entities, including, but
 not limited to, IM Global LLC, Global Road Entertainment Television LLC (f/k/a IM Global TV LLC), Tang Media
 Partners LLC, and Global Road Entertainment LLC,are not debtors in these Cases and have not commenced chapter
 1 1 cases.
 2 Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.



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       ORDERED,that the Objection Deadline by which the Plan Administrator must object to

Claims is extended to and including October 1, 2020; and it is further

       ORDERED, that nothing in this Order shall prejudice the Plan Administrator's right to

seek further extensions of the Objection Deadline from this Court; and it is further

        ORDERED, that this Court shall retain jurisdiction to hear and determine all matters

arising from the implementation of this Order.




                                                    LAURIE SELBER SILVERSTEIN
       Dated: April 9th, 2020                       UNITED STATES BANKRUPTCY JUDGE
       Wilmington, Delaware
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